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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

EARL ADOLPHUS ALLEYNE
         Petitioner,

v.                                                             Civil Action No. 2:04cv760
                                                               Criminal Action No. 2:02cr150-01

UNITED STATES OF AMERICA,
          Respondent.

                                     ORDER AND OPINION

       Currently before the court is Earl Adolphus Alleyne’s petition to vacate, set aside or

correct a sentence previously imposed, pursuant to Title 28, United States Code, Section 2255.

The petition is timely within the requirements of the Antiterrorism and Effective Death Penalty

Act of 1996, 110 Stat. 1214 (1996). The petitioner argues that his sentence was

unconstitutionally enhanced based on his classification as a Career Offender. Because the record

conclusively demonstrates that the petitioner is not entitled to relief, the court declines to hold an

evidentiary hearing. See R. Governing § 2255 Proceedings in U.S. Dist. Cts. 8(a). For the

reasons set forth below, Alleyne’s petition is DENIED.



I.     Factual Background

       On July 24, 2002, petitioner was indicted on several charges relating to a large, multi-

state conspiracy to sell and distribute marijuana. He was later charged in a superseding

indictment on December 17, 2002, in which he faced 16 charges. On August 29, 2003, pursuant

to a plea agreement reached with the United States, petitioner pleaded guilty to Count One of the



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indictment, charging him with conspiracy to possess with intent to distribute and to distribute

marijuana, in violation of Title 21, United States Code, Section 846. The plea agreement

specifically attributed petitioner with more then 100 kg of marijuana, which meant that he faced a

maximum sentence of 20 years imprisonment under 21 U.S.C. § 841(b)(1)(B). In accordance

with the plea agreement, the other charges against petitioner were dismissed by this court.

       On December 15, 2003, this court sentenced petitioner to 155 months imprisonment.

Petitioner’s base offense level was 22, but was enhanced based on the fact that he qualified as a

“Career Offender” pursuant to U.S.S.G. § 4B1.1. Petitioner had an extensive criminal history,

including multiple convictions for possession of a controlled dangerous substance with intent to

distribute. Those are considered felony drug offenses within the meaning of § 4B1.2 and

petitioner was at least 18 years of age at the time he committed them, thereby qualifying him for

sentencing enhancements as a Career Offender. Based on the sentencing enhancements and a

three-point deduction for acceptance of responsibility under U.S.S.G. § 3E1.1, this court

determined that petitioner’s adjusted offense level was 29. His criminal history category was VI,

and the appropriate guideline range was therefore 151 to 188 months imprisonment.



II.    Procedural History

       On or about December 17, 2004, petitioner filed the instant petition to vacate, set aside,

or correct his sentence, pursuant to 28 U.S.C. § 2255. In his petition, petitioner alleges that his

punishment was unconstitutionally enhanced by his characterization as a Career Offender, as it

drastically increased his offense level and thus his sentencing range.

       The United States filed a response to the instant petition on December 23, 2004, wherein


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it moved for dismissal of petitioner’s claims without a hearing.1 On January 7, 2005, petitioner

filed two motions, one requesting leave of the court to obtain limited discovery and one

requesting an extension of time to file a reply to the United States’ response. This court denied

petitioner’s motion for discovery with the exception of the plea agreement. This court granted

petitioner’s request for a copy of the plea agreement and granted his motion for an extension of

time. On February 10, 2005, petitioner filed a rebuttal to the government’s response. The matter

is now before this court.



III.      Standard of Review

          A petitioner collaterally attacking his sentence or conviction bears the burden of proving

that his sentence or conviction was imposed in violation of the United States Constitution or

laws, that the court was without jurisdiction to impose such a sentence, that the sentence

exceeded the maximum authorized by law, or that the sentence otherwise is subject to collateral

attack. 28 U.S.C. § 2255. An evidentiary hearing is not required in this case because the case

file, along with the court’s recollection of the case, are adequate to dispose of the matter. See R.

Governing § 2255 Proceedings in U.S. Dist. Cts 8(a); Blackledge v. Allison, 431 U.S. 63, 74 n.4

(1977).



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         In its response, the United States objected to petitioner’s timeliness, claiming that
because his sentence had become final on December 15, 2003 and he had not filed his petition
until December 17, 2004, it was not timely within the requirements of the Antiterrorism and
Effective Death Penalty Act of 1996, 110 Stat. 1214 (1996). However, as noted correctly by
petitioner in his rebuttal, the “mailbox rule” of Houston v. Lack, 487 U.S. 266, 276 (1988),
which provides that the date used for determining timeliness should be the date the document is
delivered to prison officials, applies in this case. The instant petition is clearly postmarked on
December 15, 2004, and therefore is within the one-year filing requirement.

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        A collateral attack under § 2255 is far more limited than an appeal. The doctrine of

procedural default bars the consideration of a claim that was not raised at the appropriate time

during the original proceedings or on appeal. A collateral challenge is not intended to serve the

same functions as an appeal. United States v. Frady, 456 U.S. 152, 165 (1981). There are two

instances, however, when a procedurally defaulted claim may be considered on collateral review.

The first instance is when a petitioner shows both cause and actual prejudice resulting from the

alleged error. Id. at 167. See also Wainwright v. Sykes, 433 U.S. 72, 84 (1977); United States v.

Mikalajunas, 186 F.3d 490, 492-95 (4th Cir. 1999). The petitioner must demonstrate “that the

error worked to his ‘actual and substantial disadvantage,’ not merely that the error created a

‘possibility of prejudice.’” Satcher v. Pruett, 126 F.3d 561, 572 (4th Cir. 1997) (quoting Murray

v. Carrier, 477 U.S. 478, 494 (1986)). Alternatively, if a petitioner can demonstrate that he is

actually innocent, then the court should also issue a writ of habeas corpus in order to avoid a

miscarriage of justice, regardless of whether the claim was procedurally defaulted. See Schlup v.

Delo, 513 U.S. 298, 321 (1995). In the instant case, petitioner has not alleged that he is actually

innocent of the crime of which he was convicted, therefore he must demonstrate both cause and

prejudice as a result of the error he alleges.



IV.     Analysis

        Petitioner’s sole argument is that the sentencing enhancements he received as a result of

qualifying as a Career Offender are unconstitutional as against the Fifth and Sixth Amendments.

As evidence of this, petitioner points to the Supreme Court’s decision in Apprendi v. New Jersey,

530 U.S. 466 (2000). In Apprendi, the Court held that any fact which increases a statutory


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maximum sentence must be determined by a jury. Id. at 490. The determination of what was

meant by a “maximum sentence” was left in doubt among the lower courts. The Supreme Court

addressed the question in its decision in Blakely v. Washington, 124 S.Ct 2531 (2004).

        In Blakely, the Supreme Court extended its ruling in Apprendi, 530 U.S. 466 (2000). In

Apprendi, the Court held that a judge may not increase a sentence above the statutory maximum

unless that sentence is based on the factual findings of the jury or the admissions of the

defendant. Id. at 483. The Court in Blakely reasoned that, for the purposes of Apprendi, the

statutory maximum is not the maximum possible sentence for a crime, but only the maximum

sentence that could be imposed based on the factors that were determined beyond a reasonable

doubt by a jury or admitted by the defendant. Blakely, 124 S.Ct. at 2537.

        The Court in Blakely addressed the sentencing guidelines used by the state of

Washington, and specifically declined to address whether its holding applied to the federal

sentencing guidelines. Id. at 2538 n.9. The Court subsequently, in United States v. Booker, 125

S.Ct. 738, applied the holding of Blakely to the federal sentencing guidelines, determining that

the mandatory nature of the guidelines violated the Sixth Amendment for the reasons stated in

Blakely, but that Congress would have preferred an advisory guideline scheme to none at all.

Booker, 125 S.Ct. at 745, 756. Thus, even though this petition was filed prior to the Court’s

decision in Booker, it is that decision, as opposed to Apprendi or Blakely, that is applicable to

petitioner’s sentence under the federal sentencing guidelines. This court will assume that, had

this petition been filed after Booker, petitioner would have relied on that case. However,

petitioner is still not entitled to relief under Booker.

        Because petitioner is collaterally attacking his final sentence, the court must determine if


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the rule announced in Booker may retroactively apply to the petitioner. Retroactivity comes into

play where a criminal defendant has been found guilty and his conviction has become final prior

to the announcement of the new rule. See Lilly v. United States, 342 F. Supp. 2d 532, 535 (W.D.

Va. 2004). A conviction is final if “‘the judgment of conviction was rendered, the availability of

appeal exhausted, and the time for petition of certiorari ha[s] elapsed.’” Teague v. Lane, 489

U.S. 288, 295 (1989) (quoting Allen v. Hardy, 478 U.S. at 258 n.1 (1986)).

       Petitioner’s conviction clearly became final prior to the decision in Booker, and therefore

he must show that the Supreme Court decision he wishes to take advantage of announced a new

rule and the new rule is retroactive on collateral review. See id. at 308. A decision announces a

new rule if the “result was not dictated by precedent existing at the time the defendant’s

conviction became final.” Id. at 301. Although Blakely and Booker stemmed from the Court’s

holding in Apprendi, it does not appear that the result in Booker was dictated by precedent. The

application of Apprendi to the sentencing enhancements in the guidelines was not foreseen by the

courts of appeals after the Supreme Court decided Apprendi. See e.g., United States v. Sanders,

247 F.3d 139, 150 (4th Cir. 2001) (holding that the court can enhance sentences on the basis of

judicially determined facts so long as the statutory maximum is not exceeded); Lilly, 342 F.

Supp. 2d at 537 n.3 (citing similar decisions from the other courts of appeals).

       Assuming then, that the decision announced in Blakely and extended to the federal

sentencing guidelines in Booker was a new rule, there is only a narrow class of cases to which the

new rule will apply retroactively on collateral rule. See Schriro v. Summerlin, 124 S.Ct. 2519,

2522 (2004). The petitioner must either show that the new rule is substantive, rather than

procedural, or that the new rule is a “watershed rule of criminal procedure.” Id. at 2523.


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       It is undisputed that the rule announced in Booker is procedural rather than substantive.

No conduct that was forbidden prior to Booker is permitted today. Booker only “regulates the

manner of determining the defendant’s culpability.” Summerlin, 124 S.Ct. at 2523. Booker does

not involve the substantive determination of what conduct is lawful or unlawful. Moreover, the

rule announced in Apprendi, 530 U.S. 466 (2000), upon which Booker relied, has been

determined to constitute a procedural rule that does not apply retroactively on collateral review.

See Summerlin, 124 S.Ct. at 2523; Sanders, 247 F.3d at 151 (finding that the rule announced in

Apprendi does not apply retroactively on collateral review).

       A procedural decision may apply retroactively if it establishes one of the rare “watershed

rules of criminal procedure implicating the fundamental fairness and accuracy of the criminal

proceeding.” Summerlin, 124 S.Ct. at 2523; Teague, 489 U.S. at 311 (1989). In order to

constitute such a rule, the decision must “so seriously diminish ‘accuracy that there is an

impermissibly large risk’ of punishing conduct the law does not reach.” Summerlin, 124 S.Ct. at

2525 (quoting Teague, 489 U.S. at 312-13).

       The rule announced in Booker is not such a watershed change. As the Seventh Circuit

has recently described:

       Booker does not in the end move any decision from judge or jury, or change the burden of
       persuasion. The remedial portion of Booker held that decisions about sentencing factors
       will continue to be made by judges, on the preponderance of the evidence, an approach
       that comports with the [S]ixth [A]mendment so long as the guidelines system has some
       flexibility in application.

McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005).

       There is nothing in either Blakely or Booker to suggest that the Supreme Court intended

to overrule the numerous cases holding that Apprendi does not apply retroactively on collateral


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review. This determination is in accord with numerous other courts that have addressed the issue

of retroactivity, either in the immediate wake of the Blakely decision, or following the more

recent decision in Booker. See id.; Lilly, 342 F.Supp. at 538-39 n.5 (citing the cases). Each

circuit that has addressed the issue of retroactivity in the wake of Booker has determined that the

rule announced in that decision is not applicable on collateral review. See Lloyd v. United

States, 407 F.3d 608, 616 (3d Cir. May 17, 2005); Guzman v. United States, 404 F.3d 139, 144

(2d Cir. Apr. 8, 2005); United States v. Price, 400 F.3d 844, 849 (10th Cir. Mar. 8, 2005);

Humphress v. United States, 398 F.3d 855, 863 (6th Cir. Feb. 25, 2005); Varela v. United States,

400 F.3d 864, 868 (11th Cir. Feb. 17, 2005); McReynolds, 397 F.3d at 491. See also United

States v. Johnson, 353 F. Supp. 2d 656, 657-58 (E.D. Va., Jan. 21, 2005).

       Petitioner’s reliance upon Apprendi and Blakely is misplaced. However, even had he

relied upon Booker, it is clear that the decision in Booker is not retroactively applicable to

petitioner’s sentence. He has therefore demonstrated neither cause for failing to raise this issue

on appeal nor prejudice resulting from his failure to do so. His petition is therefore denied.



V.     Conclusion

       For the reasons stated on the record, and for those discussed above, the petition is

DENIED and DISMISSED. Finding no substantial issue for appeal concerning the denial of a

constitutional right affecting the conviction, nor a debatable procedural ruling, a certificate of

appealability is DENIED.

       The Clerk is REQUESTED to send a copy of this Order to the petitioner, to his counsel,

and to the United States Attorney, Eastern District of Virginia, World Trade Center, Suite 1800,


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101 West Main Street, Norfolk, Virginia 23510 .

       The petitioner is ADVISED that he may appeal from this final Order by forwarding a

written notice of appeal to the Clerk of the United States District Court, United States

Courthouse, 600 Granby Street, Norfolk, Virginia 23510. Said written notice must be received

by the Clerk within sixty (60) days from the date of this Order.

       It is so ORDERED.




                                                                        /s/
                                                                  Jerome B. Friedman
                                                          UNITED STATES DISTRICT JUDGE

June 15, 2005
Norfolk, Virginia




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